 8:07-cr-00047-LSC-FG3        Doc # 66     Filed: 08/20/07     Page 1 of 2 - Page ID # 240




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:07CR47
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )             TENTATIVE FINDINGS
                                               )
YOLANDA DEZERRA LOUIS,                         )
                                               )
              Defendant.                       )

       The Court has received the Presentence Investigation Report (“PSR”) in this case.

The Defendant has filed an objection or, in the alternative, a motion for downward

departure or deviation. (Filing No. 62.) The government adopted the PSR. (Filing No. 61.)

See Order on Sentencing Schedule, ¶ 6.             The Court advises the parties that these

Tentative Findings are issued with the understanding that, pursuant to United States v.

Booker, 2005 WL 50108 (U.S. Jan. 12, 2005), the sentencing guidelines are advisory.

Objection

       The Defendant “concedes that she may meet the definition of career offender.”

However, she argues that although her qualifying prior conviction for attempted possession

with intent to deliver a controlled substance (¶ 49) by name fits the criteria necessary to be

considered as a predicate conviction, the conviction bore the same penalty as the offense

of possession of a controlled substance, which would not qualify as a predicate conviction

apparently because the offense was not punishable by a term of imprisonment exceeding

one year. Therefore, the Defendant argues that she need not be considered a career

offender. The Defendant has not submitted any legal authority in support of this novel

argument, and the Court is unaware of supporting authority. Therefore, the objection is

denied.
 8:07-cr-00047-LSC-FG3         Doc # 66    Filed: 08/20/07     Page 2 of 2 - Page ID # 241




Departure or Variance

       The plea agreement includes the following provision: “The Defendant agrees not to

seek or suggest a sentence reduction via variance or deviation from the Guidelines.”

(Filing No. 35, ¶ 7(e).) In light of this provision, the Defendant’s motion for downward

departure or deviation is denied.

       IT IS ORDERED:

       1.      The parties are notified that my tentative findings are that the PSR is correct

in all respects;

       2.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       3.      Absent submission of the information required by paragraph 2 of this Order,

my tentative findings may become final;

       4.      Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing; and

       5.      The Defendant’s objection or, alternatively, motion for downward departure

or deviation (Filing No. 62) is denied.

       Dated this 20th day of August, 2007.

                                                   BY THE COURT:

                                                   s/Laurie Smith Camp
                                                   United States District Judge


                                               2
